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                                                      United States District Court
                                                      Central District of California


 UNITED STATES OF AMERICA vs.                                             Docket No.              SACR 09-00022-CJC

 Defendant       Victor Vurpillat, III                                    Social Security No. 0            5   7   2
       Victor Vincent Vurpillat, III, Victor V. Vurpillat,
                                                                          (Last 4 digits)
 akas: III, Victor V. Vurpillat, Victor Vurpillat

                                        JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                   MONTH    DAY   YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.         07   27    2009

                       WITH COUNSEL                                               David Willingham, Rtd.
  COUNSEL          X
                                                                                    Aron Ketchel, Rtd.
                                                                                       (Name of Counsel)

     PLEA         X GUILTY, and the court being satisfied that there is a factual basis for the plea.             NOLO             NOT
                                                                                                               CONTENDERE         GUILTY
  FINDING  There being a finding/verdict of X GUILTY, defendant has been convicted as charged of the offense(s) of:
          Securities Fraud in violation of 15 U.S.C. § 77q(a), x as charged in the Single-Count Information.
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM
  ORDER
    The defendant shall pay to the United States a special assessment of $100, which is due immediately.

    It is further ordered that the defendant shall pay restitution in the total amount of $982,318 pursuant to 18
    U.S.C. § 3663A.

    Defendant shall pay restitution in the total amount of $982,318 to victims as set forth in a separate victim list
    prepared by the probation office which this Court adopts and which reflects the Court’s determination of the
    amount of restitution due to each victim. The victim list, which shall be forwarded to the fiscal section of the
    clerk’s office, shall remain confidential to protect the privacy interests of the victims.

    Restitution shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and
    pursuant to the Bureau of Prisons’ Inmate Financial Responsibility Program. If any amount of the restitution
    remains unpaid after release from custody, nominal monthly payments of at least $50 shall be made during the
    period of supervised release. These payments shall begin 30 days after the commencement of supervision.
    Nominal restitution payments are ordered as the court finds that the defendant’s economic circumstances do not
    allow for either immediate or future payment of the amount ordered.

    If the defendant makes a partial payment, each payee shall receive approximately proportional payment unless
    another priority order or percentage payment is specified in this judgment.

    Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does
    not have the ability to pay interest. Payments may be subject to penalties for default and delinquency pursuant
    to 18 U.S.C. § 3612(g).

    The defendant shall comply with General Order No. 01-05.

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    All fines are waived as it is found that the defendant does not have the ability to pay a fine in addition to
    restitution.

    The Court recommends that the Bureau of Prisons conduct a mental health evaluation of the defendant and
    provide all necessary treatment.

    Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Victor
    Vurpillat, III, is hereby committed on Count 1 of the Single-Count Information to the custody of the Bureau of
    Prisons to be imprisoned for a term of 24 months. The Court recommends that the defendant be housed in a
    minimum security facility in Southern California to facilitate visitation with family, friends and loved ones.

    Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three years
    under the following terms and conditions:

                 1.        The defendant shall comply with the rules and regulations of the U. S. Probation Office
                           and General Order 318;

                 2.        The defendant shall cooperate in the collection of a DNA sample from his person;

                 3.        During the period of community supervision, the defendant shall pay the special
                           assessment and restitution in accordance with this judgment's orders pertaining to such
                           payment;

                 4.        The defendant shall not engage, as whole or partial owner, employee or otherwise, in any
                           business involving, telemarketing activities, investment programs or any other business
                           involving the solicitation of funds or cold-calls to customers without the express approval
                           of the Probation Officer prior to engagement in such employment. Further, the defendant
                           shall provide the Probation Officer with access to any and all business records, client lists
                           and other records pertaining to the operation of any business owned, in whole or in part,
                           by the defendant, as directed by the Probation Officer;

                 5.        The defendant shall apply monies received from income tax refunds greater than $500, lottery
                           winnings, inheritance, judgments and any anticipated or unexpected financial gains to the
                           outstanding Court-ordered financial obligation; and

                 6.        The defendant shall participate in mental health treatment, which may include evaluation and
                           counseling, until discharged from the treatment by the treatment provider, with the approval of
                           the Probation Officer.

    The drug testing condition mandated by statute is suspended based on the Court’s determination that the
    defendant poses a low risk of future substance abuse.

    The Court authorizes the Probation Officer to disclose the Presentence Report, and/or any previous mental
    health evaluations or reports, to the treatment provider. The treatment provider may provide information
    (excluding the Presentence Report), to State or local social service agencies (such as the State of California,
    Department of Social Services), for the purpose of the client’s rehabilitation.

    It is further ordered that the defendant surrender himself to the institution designated by the Bureau of Prisons
    on or before 12 noon on September 23, 2009. In the absence of such designation, the defendant shall report on
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    or before the same date and time, to the United States Marshal located at United States Court House, 411 W.
    Fourth Street, Santa Ana, CA 92701-4516.

    Bond is exonerated upon surrender.

    Defendant advised of his right to appeal.



      In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation
      and Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend
      the period of supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue
      a warrant and revoke supervision for a violation occurring during the supervision period.




            July 28, 2009
            Date                                                       U. S. District Judge

      It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified
      officer.

                                                                       Clerk, U.S. District Court



            July 29, 2009                                        By    Michelle Urie
            Filed Date                                                 Deputy Clerk




      The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                                  STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                   While the defendant is on probation or supervised release pursuant to this judgment:




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      1.    The defendant shall not commit another Federal, state or local       10.   the defendant shall not associate with any persons engaged in
            crime;                                                                     criminal activity, and shall not associate with any person
      2.    the defendant shall not leave the judicial district without the            convicted of a felony unless granted permission to do so by the
            written permission of the court or probation officer;                      probation officer;
      3.    the defendant shall report to the probation officer as directed by   11.   the defendant shall permit a probation officer to visit him or her
            the court or probation officer and shall submit a truthful and             at any time at home or elsewhere and shall permit confiscation of
            complete written report within the first five days of each month;          any contraband observed in plain view by the probation officer;
      4.    the defendant shall answer truthfully all inquiries by the           12.   the defendant shall notify the probation officer within 72 hours
            probation officer and follow the instructions of the probation             of being arrested or questioned by a law enforcement officer;
            officer;                                                             13.   the defendant shall not enter into any agreement to act as an
      5.    the defendant shall support his or her dependents and meet other           informer or a special agent of a law enforcement agency without
            family responsibilities;                                                   the permission of the court;
      6.    the defendant shall work regularly at a lawful occupation unless     14.   as directed by the probation officer, the defendant shall notify
            excused by the probation officer for schooling, training, or other         third parties of risks that may be occasioned by the defendant’s
            acceptable reasons;                                                        criminal record or personal history or characteristics, and shall
      7.    the defendant shall notify the probation officer at least 10 days          permit the probation officer to make such notifications and to
            prior to any change in residence or employment;                            conform the defendant’s compliance with such notification
      8.    the defendant shall refrain from excessive use of alcohol and              requirement;
            shall not purchase, possess, use, distribute, or administer any      15.   the defendant shall, upon release from any period of custody,
            narcotic or other controlled substance, or any paraphernalia               report to the probation officer within 72 hours;
            related to such substances, except as prescribed by a physician;     16.   and, for felony cases only: not possess a firearm, destructive
      9.    the defendant shall not frequent places where controlled                   device, or any other dangerous weapon.
            substances are illegally sold, used, distributed or administered;


      X     The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

                The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine
      or restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments
      may be subject to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution
      , however, are not applicable for offenses completed prior to April 24, 1996.

               If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay
      the balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

               The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address
      or residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

                The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change
      in the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C.
      §3664(k). The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party
      or the victim, adjust the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3)
      and for probation 18 U.S.C. §3563(a)(7).

                   Payments shall be applied in the following order:

                            1. Special assessments pursuant to 18 U.S.C. §3013;
                            2. Restitution, in this sequence:
                                      Private victims (individual and corporate),
                                      Providers of compensation to private victims,
                                      The United States as victim;
                            3. Fine;
                            4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                            5. Other penalties and costs.




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                                   SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

               As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit
      report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
      statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not
      apply for any loan or open any line of credit without prior approval of the Probation Officer.

              The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
      proceeds shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank
      accounts, including any business accounts, shall be disclosed to the Probation Officer upon request.

               The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500
      without approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                    These conditions are in addition to any other conditions imposed by this judgment.




                                                                       RETURN

      I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                        to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                       United States Marshal


                                                                 By
            Date                                                       Deputy Marshal




                                                                    CERTIFICATE

      I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office,
      and in my legal custody.
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                                                                         Clerk, U.S. District Court


                                                                By
            Filed Date                                                   Deputy Clerk




                                                   FOR U.S. PROBATION OFFICE USE ONLY


    Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the
    term of supervision, and/or (3) modify the conditions of supervision.

                 These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


                 (Signed)
                            Defendant                                                       Date




                            U. S. Probation Officer/Designated Witness                      Date




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